Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 1 of 31 Pageid#: 699




  JAMES BARB, Individually and for )
  Others Similarly Situated,       )
                                   )
                   Plaintiff,      )               Case No. 1:23CV00058
                                   )
  v.                               )              OPINION AND ORDER
                                   )
                                   )                JUDGE JAMES P. JONES
  HEATH CONSULTANTS, INC.,         )
                                   )
                   Defendant.      )

       Argued: David M. Mathews, JOSEPHSON DUNLAP LLP, Houston, Texas, for
 Plaintiff; David L. Barron, COZEN    ONNOR, Houston, Texas, Jerry W. Kilgore,
 COZEN       ONNOR, Richmond, Virginia, and Austin G. Dieter, COZEN    ONNOR,
 Chicago, Illinois, for Defendant.
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 2 of 31 Pageid#: 700




           1




               2




       1




       2
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 3 of 31 Pageid#: 701
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 4 of 31 Pageid#: 702
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 5 of 31 Pageid#: 703
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 6 of 31 Pageid#: 704
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 7 of 31 Pageid#: 705
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 8 of 31 Pageid#: 706
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 9 of 31 Pageid#: 707
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 10 of 31 Pageid#: 708
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 11 of 31 Pageid#: 709




                                               As the Supreme Court has stated:

       A party seeking class certification must affirmatively demonstrate his
       compliance with the Rule       that is, he must be prepared to prove that
       there are in fact sufficiently numerous parties, common questions of
       law or fact, etc. We recognized in [Gen. Tel. Co. of Sw. v.] Falcon that

       pleadings before coming to rest on the certificati

       is satisfied, after a rigorous analysis, that the prerequisites of Rule 23(a)
                                 id., at 161 [ ]; see id.
       pres
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 12 of 31 Pageid#: 710




        merits of the plaintiff's underlying claim. That cannot be helped.

  Wal-Mart Stores, Inc., v. Dukes, 564 U.S. 338, 350 351 (2011).
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 13 of 31 Pageid#: 711
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 14 of 31 Pageid#: 712
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 15 of 31 Pageid#: 713
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 16 of 31 Pageid#: 714
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 17 of 31 Pageid#: 715
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 18 of 31 Pageid#: 716
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 19 of 31 Pageid#: 717
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 20 of 31 Pageid#: 718
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 21 of 31 Pageid#: 719
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 22 of 31 Pageid#: 720
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 23 of 31 Pageid#: 721
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 24 of 31 Pageid#: 722
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 25 of 31 Pageid#: 723
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 26 of 31 Pageid#: 724
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 27 of 31 Pageid#: 725
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 28 of 31 Pageid#: 726
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 29 of 31 Pageid#: 727
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 30 of 31 Pageid#: 728
Case 1:23-cv-00058-JPJ-PMS Document 48 Filed 07/03/24 Page 31 of 31 Pageid#: 729




                                          ENTER: July 3, 2024

                                          /s/ JAMES P. JONES
                                          Senior United States District Judge
